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      October 8, 2018

      VIA EMAIL ONLY

      Brad McVay, Esq.
      Interim General Counsel
      Florida Department Of State
      500 South Bronough Street
      Tallahassee FL 32399-0250
      brad.mcvay@dos.myflorida.com

             Re: Hurricane Michael and Potential Impact upon Voter Registration
             Book Closing on October 9, 2018

      Dear Mr. McVay,

      I am writing on behalf of the Lawyers’ Committee for Civil Rights Under Law
      and Common Cause Florida to inquire whether the Secretary of State and
      Division of Elections will be seeking an extension of the voter registration
      book closing deadline, which is currently set for tomorrow (October 9, 2018),
      in light of Governor Scott’s declaration of emergency today ahead of
      Hurricane Michael making landfall. A copy of Governor Scott’s Executive
      Order 18-276 is attached for your information.

      As Governor Scott notes in the Executive Order, Hurricane Michael “poses a
      severe threat to the State of Florida” which requires taking precautions to
      “protect the communities, critical infrastructure and the general welfare….”
      The Executive Order further notes that the storm is increasing in intensity
      and there is an increasing risk of dangerous storm surge, rainfall, strong
      winds, hazardous seas and the potential for isolated tornadic activity in
      Florida’s northern Gulf Coast by mid-week.

      Moreover, it is our understanding that four counties (Gulf County, Wakulla
      County, Franklin County and Bay County) have now issued mandatory
      evacuation orders ahead of the storm making landfall. The voting-eligible
      residents in these counties should be focused on the safety and welfare of
      themselves and their families and should not be faced with being
      disenfranchised if they cannot register by book closing at midnight
      tomorrow.
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      Recently, South Carolina extended its voter registration deadline state-wide
      to October 17, 2018 in the wake of Hurricane Florence and the devastating
      flooding that followed the storm making landfall. North Carolina also
      extended its voter registration deadline to October 15, 2018 for 28 counties
      that were hard hit by Hurricane Florence.

      In light of Governor Scott’s emergency declaration, the mandatory evacuation
      orders in three Gulf counties and the fact that many Floridians will heed the
      Governor’s advice to take emergency precautions, we are respectfully
      requesting that the State of Florida consider a similar extension of the voter
      registration deadline to ensure that voting-eligible Floridians are not faced
      with being disenfranchised as a result of this storm.

      While Florida does have online voter registration this year, that system is not
      uniformly available to all Floridians since they must have already acquired a
      Florida driver license or state ID card in order to use the online system.
      Moreover, Floridians on the Gulf Coast may lose power or not have access to
      a computer during the storm in order to register online by the voter
      registration book closing.

      Therefore, we respectfully request that the State of Florida consider
      extending the voter registration deadline for at least a week following the
      storm, and possibly longer depending upon the impact of the storm across
      the state.

      We would appreciate a response today to ensure that voting-eligible
      Floridians will know whether the deadline will be extended before they find
      they are unable to register to vote by tomorrow’s book closing.

      Thank you for your attention and cooperation in this matter.

      Very truly yours,

      Julie M. Houk1
      Senior Special Counsel
      Voting Rights Project

      1 Admitted to practice law in the District of Columbia, California, Massachusetts, New

      Hampshire and Illinois (voluntarily registered as inactive in Illinois)
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      Lawyers’ Committee for Civil Rights Under Law
      1500 K Street NW, Suite 900
      Washington, DC 20001
      Telephone: 202-662-8391
      Cell: 603-562-8309
      jhouk@lawyerscommittee.org

      Liza McClenaghan
      State Chair
      Common Cause Florida
      9877 Clear Lake Circle
      Naples, FL 34109
      239-596-5248 voice | 239-777-8948 cell
      lizamac@comcast.net
